            Case 4:19-cv-05238-TOR                  ECF No. 41           filed 08/28/20    PageID.293 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the_
                                                     Eastern District of Washington

                KIER KEAND’E GARDNER,
                                                                     )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 4:19-CV-5238-TOR
                                                                     )
                                                                     )
                    KENTON BOYD, et al.,

                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: The matter is DISMISSED without prejudice.
’




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge                       Thomas O. Rice                                        on Defendants' Motion for
     Summary Judgment for Failure to Exhaust Adminstrative Remedies ECF No. 29.


Date: August 28, 2020                                                        CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Linda L. Hansen
                                                                                          (By) Deputy Clerk

                                                                             Linda L. Hansen
